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EXHIBIT B
Case 4:10-cv-01997 . Document 324-2 Filed on 12/06/11 in TXSD —— Page 2 of 2

TEXAS SEGRETAR .. of. SihATE
HOPE ANDRADE

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BUSINESS ORGANIZATIONS INQUIRY - VIEW ENTITY

Filing Number: 800133438 Entity Type: Domestic Limited Liability
Parinership (LLP)
Original Date of Fiting: October 15, 2002 Entity Status: Expired
g 9 p
Formation Date: N/A
Tax ID: 7271536760 FEIN: 721836760
Duration: Non-Perpetual Expiration 1
, Period:
Name: Big Star Gathering Ltd L.L.P.
Address: 1058 FM 3024
George West, TX 78022 USA
ASSOCIATED
REGISTERED AGENT FILING HISTORY NAMES MANAGEMENT ASSUMED NAMES ENTITIES
Dacument : Page
Number Filing Type Filing Date Efiective Date Cond Count
[G). 18384170002 Certificate of Registration October 15, 2002 October 15, 2002 No 1
18751020002 Amended Registration October 22, 2002 October 22, 2002 No 1
36832570001 Renewal Notice July 1, 2003 July 1, 2003 No 1
43768770002 Renewal of Registration October 3, 2003 October 3, 2003 No 1
63890750001 Renewal Notice July 1, 2004 duly 1, 2004 No 1
i 68421550002 Renewal of Registration August 26, 2004 August 26, 2004 No 4
94862580001 Renewal Notice duly 7, 2008 July 7, 2005 No 1
102773440002 Renewal of Registration September 7, 2005 September 7, 2605 No 2
138626660001 Renewal Notice August 1, 2006 August 1, 2006 No 1
143869860002 Renewal of Registration September 11, 2006 September 71, 2006 No 2
166887160003 Certificate of Assumed Business Name April 13, 2007 April #3, 2007 No 2
168663580004 Certificate of Assured Business Name April 27, 2007 April 27, 2007 No 2
180445470007 Renewal Notice August 1, 2007 August 1, 2007 No i
189567400002 Renewal of Registration October 15, 2007 October 15, 2007 No 2
224287940001 Renewal Nofice August 1, 2008 August 1, 2008 No t
229564260002 Renewal of Registration September 15, 2008 September 15, 2008 No 2
j
270187640001 Renewal Notice August 3, 2008 August 3, 2009 No 4
[3] 280398620002 Renewal of Registration October 26, 2009 October 20, 2009 No 2
318478340001 Renewal Notice August 2, 2010 August 2, 2010 No 1

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